                                                                                               Case 3:19-cv-00071-LRH-CBC
                                                                                               Case 3:19-cv-00071-LRH-CLB Document
                                                                                                                          Document 12
                                                                                                                                   11 Filed
                                                                                                                                      Filed 02/28/19
                                                                                                                                            02/26/19 Page
                                                                                                                                                     Page 11 of
                                                                                                                                                             of 34



                                                                                           1 R. Shawn Oliphant, Esq.
                                                                                             Nevada Bar No. 6441
                                                                                           2 VILORIA, OLIPHANT,
                                                                                              OSTER & AMAN L.L.P.
                                                                                           3 P.O. Box 62

                                                                                           4 Reno, Nevada 89504
                                                                                             (775) 284-8888
                                                                                           5 Attorneys for Plaintiff

                                                                                           6                           UNITED STATES DISTRICT COURT
                                                                                           7
                                                                                                                               DISTRICT OF NEVADA
                                                                                           8
                                                                                                                                          ***
Office: (775) 284-8888 Fax: (775) 284-3838

                                             327 CALIFORNIA AVENUE ~ RENO, NEVADA 89509




                                                                                           9
   P. O. BOX 62 ~ RENO, NEVADA 89504




                                                                                               PEGGY ANGLETON, an individual,
                                                                                          10                                                        Case No: 3:19-cv-0071-LRH-CBC
            COUNSELORS AT LAW




                                                                                                                      Plaintiff,
                                                                                          11
             ATTORNEYS AND




                                                                                                    vs.
                                                                                          12
                                                                                             FCPT RESTAURANT PROPERTIES, LLC;
                                                                                          13 GMRI, INC.; and DOES I-XX; ROE
                                                                                             CORPORATIONS I-XX; DOE ENGINEERING                     STIPULATION AND ORDER TO
                                                                                          14 COMPANIES I-XX; ROE CONSTRUCTION                            REMAND ACTION
                                                                                          15 COMPANIES I-XX; and DOE MANAGEMENT
                                                                                             FIRMS I-XX, inclusive,
                                                                                          16
                                                                                                                 Defendants.
                                                                                          17 ______________________________________/
AMAN L.L.P.
OLIPHANT,
 VILORIA,

 OSTER &




                                                                                          18             COMES NOW, Plaintiff, PEGGY ANGLETON, and Defendants, FCPT
                                                                                          19
                                                                                               RESTAURANT PROPERTIES, LLC and GMRI, INC., by and through their respective
                                                                                          20
                                                                                               counsel of record, and hereby stipulate and agree as follows:
                                                                                          21
                                                                                                         1.   Plaintiff filed an Amended Complaint in the Second Judicial District Court
                                                                                          22

                                                                                          23 on January 10, 2019 (Document #1-1);

                                                                                          24             2.   Defendants filed a Notice of Removal on February 8, 2019 (Document #1)

                                                                                          25 removing this action from the Second Judicial District Court;

                                                                                          26             3.   The asserted basis for Defendants removal was original federal question
                                                                                          27
                                                                                               jurisdiction “because this matter involves a question of federal law under the Americans
                                                                                          28

                                                                                               1021191                                    -1-
                                                                                               Case 3:19-cv-00071-LRH-CBC
                                                                                               Case 3:19-cv-00071-LRH-CLB Document
                                                                                                                          Document 12
                                                                                                                                   11 Filed
                                                                                                                                      Filed 02/28/19
                                                                                                                                            02/26/19 Page
                                                                                                                                                     Page 22 of
                                                                                                                                                             of 34



                                                                                           1 With Disability Act (“ADA”).” (Doc. 1, Paragraph 7).

                                                                                           2             4.   Plaintiff assert that this is a personal injury matter and that:
                                                                                           3                  A complaint alleging violation of a federal statute as an element of
                                                                                           4                  a state cause of action, when Congress has determined that there
                                                                                                              should be no private federal cause of action for the violation, does
                                                                                           5                  not state a claim ‘arising under the Constitution, laws or treaties of
                                                                                                              the United States.’ Merrell Dow Pharms. Inc. v. Thompson, 478
                                                                                           6                  U.S. 804, 106 S.Ct. 3229 (1986).
                                                                                           7
                                                                                                         5.   Plaintiff also asserts that the 9th Circuit Court of Appeals has found that
                                                                                           8
                                                                                               “Federal question jurisdiction over a state-law claim is not created just because a
Office: (775) 284-8888 Fax: (775) 284-3838

                                             327 CALIFORNIA AVENUE ~ RENO, NEVADA 89509




                                                                                           9
   P. O. BOX 62 ~ RENO, NEVADA 89504




                                                                                               violation of federal law is an element of the state law claim” in the specific context of
                                                                                          10
            COUNSELORS AT LAW




                                                                                               alleged ADA violations. See Wander v. Kaus, 304 F.3d 856, 859 (2002)(finding no
                                                                                          11
             ATTORNEYS AND




                                                                                          12 federal-question jurisdiction when ADA violations are alleged as the basis for state law

                                                                                          13 claims).

                                                                                          14             6.   Therefore the parties stipulate to remand this action to the Second Judicial
                                                                                          15
                                                                                               District Court of the State of Nevada, and that upon remand the parties stipulate to
                                                                                          16
                                                                                               Plaintiff filing a Second Amended Complaint removing her Third Cause of Action
                                                                                          17
AMAN L.L.P.
OLIPHANT,
 VILORIA,

 OSTER &




                                                                                               (Unlawful Discrimination and Deprivation of Civil Rights) to remove any doubt as to the
                                                                                          18

                                                                                          19 federal question jurisdiction issue.

                                                                                          20             7.   The parties further stipulate and agree that each party will bear their own

                                                                                          21 attorneys’ fees and costs with respect to the removal and subsequent remand of this

                                                                                          22 action pursuant to this Stipulation and Order; and

                                                                                          23
                                                                                               ///
                                                                                          24
                                                                                               ///
                                                                                          25
                                                                                               ///
                                                                                          26

                                                                                          27 ///
                                                                                          28

                                                                                               1021191                                      -2-
                                                                                               Case 3:19-cv-00071-LRH-CBC
                                                                                               Case 3:19-cv-00071-LRH-CLB Document
                                                                                                                          Document 12
                                                                                                                                   11 Filed
                                                                                                                                      Filed 02/28/19
                                                                                                                                            02/26/19 Page
                                                                                                                                                     Page 33 of
                                                                                                                                                             of 34



                                                                                           1             8.    This Stipulation renders all motions pending before this Court moot.

                                                                                           2    DATED this 26th day of February, 2019.        DATED this 26th day of February, 2019.
                                                                                           3              VILORIA, OLIPHANT, OSTER                    LEWIS BRISBOIS BISGAARD
                                                                                           4                 & AMAN L.L.P.                               & SMITH LLP

                                                                                           5    By:       /s/ R. Shawn Oliphant__________     By:     /s/ Mary-Ann S. Ellis___________
                                                                                                          R. Shawn Oliphant, Esq.                     Mary-Ann S. Ellis, Esq.
                                                                                           6              Nevada Bar No. 6441                         Nevada Bar No. 12427
                                                                                                          Attorneys for Plaintiff                     Attorneys for Defendants
                                                                                           7

                                                                                           8                                            ORDER
Office: (775) 284-8888 Fax: (775) 284-3838

                                             327 CALIFORNIA AVENUE ~ RENO, NEVADA 89509




                                                                                           9             The Court having reviewed the Stipulation to Remand in the above-captioned
   P. O. BOX 62 ~ RENO, NEVADA 89504




                                                                                          10 action and good cause appearing, hereby ORDERS as follows:
            COUNSELORS AT LAW




                                                                                          11
             ATTORNEYS AND




                                                                                                         1.    The Stipulation to Remand is hereby GRANTED; and
                                                                                          12
                                                                                                         2.    The U.S. District Court for the District of Nevada, Case No. 3:19-cv-
                                                                                          13
                                                                                               0071-LRH-CBC captioned, Peggy Angleton v. FCPT Restaurant Properties, LLC, et al.,
                                                                                          14

                                                                                          15 is hereby REMANDED to the Second Judicial District Court, Washoe County, Nevada,

                                                                                          16 Case No. CV18-02311.

                                                                                          17                        28th day
                                                                                                         DATED this ____ day of
                                                                                                                             of February,
                                                                                                                                February, 2019.
                                                                                                                                          2019.
AMAN L.L.P.
OLIPHANT,
 VILORIA,

 OSTER &




                                                                                          18                                                         By:   ________________________
                                                                                          19                                                               United States District Judge
                                                                                                                                                  ________________________________
                                                                                                                                                  LARRY R. HICKS
                                                                                          20
                                                                                                                                                  UNITED STATES DISTRICT JUDGE
                                                                                          21

                                                                                          22

                                                                                          23

                                                                                          24

                                                                                          25

                                                                                          26

                                                                                          27
                                                                                          28

                                                                                               1021191                                      -3-
